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                                       Nos. 24-6256 & 24-6274
                                       ________________________
                                                   IN THE

                             United States Court of Appeals
                                  for the Ninth Circuit
                                       ________________________
                                            EPIC GAMES, INC.,
                                                          Plaintiff-Appellee,
                                                  – v. –
                                          GOOGLE LLC, et al.,
                                                         Defendants-Appellants.
                                       ________________________
                       On Appeal From a Final Judgment of the United States
                  District Court for the Northern District of California (Donato, J.),
                                 Nos. 3:20-cv-05671 & 3:21-md-02981
                                       ________________________
              BRIEF OF COMPUTER SECURITY EXPERTS JOHN MITCHELL,
              SERGE EGELMAN, AND NATHAN GOOD AS AMICI CURIAE IN
                 SUPPORT OF DEFENDANTS-APPELLANTS AND THEIR
                APPLICATION FOR A PARTIAL STAY OF A PERMANENT
                          INJUNCTION PENDING APPEAL
                              ________________________

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                            STATEMENT OF INTEREST OF AMICI CURIAE*

                    Amici curiae are current and former academics who have studied

             and researched in the areas of computer security and privacy, and who

             have extensive experience analyzing the security and privacy risks of

             mobile applications. As such, amici have a significant interest in

             computer security and ensuring that policymakers and courts make

             informed, rational decisions about privacy and data security.**

                    John Mitchell is the Mary and Gordon Crary Family Professor,

             professor of computer science, and by courtesy professor of electrical

             engineering and professor of education at Stanford University. He was

             previously chair of the Computer Science Department. Professor

             Mitchell’s research focusses on programming languages, computer

             security and privacy, blockchain, machine learning, and technology for

             education. With over 250 publications and over 30,000 citations, he has



             * All parties consent to the filing of this brief. No counsel for any party in

             this case authored this brief in whole or in part. No person or entity—
             other than amici curiae and their counsel—made a monetary
             contribution specifically for the preparation or submission of this brief.
             ** Although amici are affiliated with various academic and business
             institutions, they lend their support to this brief in only their individual
             capacities. Nothing in this brief should be construed as the position of the
             academic institutions and businesses with which they are affiliated.

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             led research projects on a range of topics, been a consultant or advisor to

             many companies, and served as editor-in-chief of the Journal of

             Computer Security.

                    Serge Egelman is the Research Director of the Usable Security and

             Privacy group at the International Computer Science Institute, which is

             an independent research institute affiliated with the University of

             California, Berkeley. He also holds a position as a research scientist

             within the Electrical Engineering and Computer Sciences Department at

             the University of California, Berkeley. He is a co-founder and Chief

             Scientist of AppCensus, Inc., which builds tools to test the privacy

             behaviors of mobile applications. He received his Ph.D. from Carnegie

             Mellon University’s School of Computer Science; his research has been

             cited over 13,000 times; and he has testified before Congress on issues

             relating to the privacy and security of mobile applications.

                    Nathan Good is the Principal of Good Research, LLC, the Chief

             Executive Officer of AppCensus, Inc., and a former lecturer at the School

             of Information at the University of California, Berkeley. A fundamental

             goal of his work is to assist companies in creating networked systems

             devices and services that are simple, secure, and respectful of people’s



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             privacy. Dr. Good received his Ph.D. in Information Science and a M.S.

             in Computer Science from the University of California, Berkeley. He has

             published extensively on user-experience studies, privacy, and security-

             related topics, holds patents on software technology for multimedia

             systems and event analysis, is a co-author of the UC Berkeley web

             privacy census, and has testified before the House of Representatives and

             the Senate on his research on privacy and information security.

                                               ARGUMENT

                    Paragraph 10 of the District Court’s Injunction Order
                    Exposes More Than One-Hundred Million Users of
                    Google’s Play Store to Extensive Security Risks.

                    The District Court’s injunction exposes more than one-hundred

             million U.S.-based users of Google’s Play Store to extensive security

             risks. Under that order, Google may not prohibit developers from

             providing links to download applications outside the Google Play Store.

             See Injunction Order ¶ 10. That provision is a recipe for disaster.

                    Google currently prohibits developers from including external links

             to download applications in any application the developer distributes

             through the Play Store because such links present a serious security risk.

             Links can direct users to anywhere on the Internet. If those end sites are



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             malicious but appear legitimate, they could trick users into installing

             malware on their phones and other Android devices, direct users to

             provide credit card and other sensitive financial and personal

             information, steal users’ data, track users’ activities on the Internet, and

             even access a device’s location, text messages, microphone, and camera,

             and initiate or answer phone calls. See Bitdefender, Unveiling Mobile

             App Secrets: A 6-Month Deep Dive into Surprising Behavior Patterns,

             Jan. 8, 2024 (describing various types of malware that can operate on an

             Android device)1; see also Federal Bureau of Investigation, Spoofing and

             Phishing (describing the process by which cybercriminals can use links

             to cause users to “download malicious software, send money, or disclose

             personal, financial, or other sensitive information”). 2

                    The dangers of the District Court’s injunction order are particularly

             significant because users would encounter these links in a previously

             trusted environment. Because Google has spent years cultivating a

             secure user experience within the Play Store and applications available



             1 https://www.bitdefender.com/en-us/blog/labs/unveiling-mobile-app-

             secrets-a-6-month-deep-dive-into-surprising-behavior-patterns/.
             2 https://www.fbi.gov/how-we-can-help-you/scams-and-safety/common-

             frauds-and-scams/spoofing-and-phishing.

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             on Play, users will be more prone to trust these links, exposing them to

             all the risks outlined above. And whereas Google is able to scan and vet

             the applications that it makes available through the Play Store,

             mitigating the risk of malware and quickly taking down malicious and

             unwanted applications through centralized mechanisms, Google cannot

             possibly track every application available for download on the Internet

             that would be accessible through the kinds of external links mandated by

             the District Court. See, e.g., Byron Tau, Apple and Google to Stop X-Mode

             From Collecting Location Data From Users’ Phones, Wall St. J., Dec. 9,

             2020 (explaining that Google and Apple were successful in removing X-

             Mode’s tracking software from any application present in their app

             stores).3 Rather, users would be dependent on running scanning software

             from their individual devices, which is a useful feature but is reactive,

             not a prophylactic mechanism at a centralized distribution point.

             Notably, Google does not force users of Android mobile devices to

             download applications through Google’s Play Store; they are free to

             download applications from external sources (known as side-loading),



             3 https://www.wsj.com/articles/apple-and-google-to-stop-x-mode-from-

             collecting-location-data-from-users-phones-11607549061.

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             including from third-party app stores. But for those users who elect to

             use Google’s Play Store, many likely prefer Play’s security features.

             Indeed, academic research suggests that malware has flourished on

             Android devices whose users have downloaded applications outside of

             Google Play. See, e.g., Haoyu Wang, et al., Beyond Good Play: A Large-

             Scale Comparative Study of Chinese Android App Markets, 2018 Internet

             Measurement Conference, Association for Computing Machinery (Oct. 31

             – Nov. 2, 2018) (concluding that Chinese app markets perform

             substantially worse when taking active measures to protect mobile users

             and legitimate developers from deceptive and abusive actors, showing a

             significantly higher prevalence of malware and fake and cloned apps

             than Google Play). 4

                    Cybercriminal    organizations,      state-sponsored       actors,   and

             freelancers are already highly successful in tricking people over unsecure

             forms of communication, including e-mails, text messages, and telephone

             calls. According to one study, 78 percent of mobile users experienced at

             least one scam in the last year, and those scams are most often initiated

             by sending links to get users to install malicious applications. Global


             4 https://conferences.sigcomm.org/imc/2018/papers/imc18-final148.pdf.



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             Anti-Scam Alliance, Global State of Scams – 2023, at 12-13. 5 Allowing

             malicious actors to communicate through applications downloaded on

             Google’s Play Store will only exacerbate these problems, reducing those

             few regions of the Internet that users can generally trust. See Federal

             Bureau of Investigation, On the Internet: Be Cautious When Connected

             (warning Internet users not to access unverified links that could steer

             users to spoofed websites). 6

                    The dangers of the District Court’s order are not difficult to

             envision. Having impaired Google’s ability to fully vet the developers and

             applications that appear on its Play Store and applications available

             through Play, the order exacerbates these problems by allowing

             developers to push seemingly benign links that will take users—likely

             unwittingly—outside Google’s secure environment. Users could be

             directed to seemingly legitimate sites where they are instructed to

             provide their financial and personal information—only to learn after it is

             much too late that they tendered that private information to



             5 https://www.scribd.com/document/679758338/Global-State-of-Scams-

             Report-2023-Global-GASA-final.
             6 https://www.fbi.gov/how-we-can-help-you/scams-and-safety/on-the-

             internet.

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             cybercriminals. Children could be taken from a seemingly safe gaming

             application to websites peddling in sexually explicit materials. And still

             other users could be directed to follow prompts that, unbeknownst to

             them, install malware onto their Android devices, exposing them to a

             range of malicious applications that could share private information with

             third parties, track their use across other applications, disclose their

             location and the contents of their text messages, access their phone,

             camera, and microphone, and destroy the data on their devices.

                    On top of that, these risks are not limited to an individual user’s

             Android device; they could expose business and governmental networks

             to illicit attacks. Among other things, cybercriminals could gain access to

             passwords and other sensitive information that Android users also use to

             access their work accounts. That, in turn, could expose State secrets and

             third-party intellectual property to theft or destruction. Likely for these

             reasons, the Administrative Office of the U.S. Courts recognizes the

             “threat” posed to its networks by court personnel accessing “malicious




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             websites.” Admin. Office of U.S. Courts, Information Systems and

             Cybersecurity – Annual Report 2022. 7

                    The District Court’s order compounds these problems by

             demanding that Google allow developers to provide links in a matter of

             weeks. In amici’s experience, it would take many months, if not a year or

             more, to build out programming code to help mitigate some of the risks

             posed by the District Court’s order on the scale necessary for Google’s

             Play Store. Thus, whatever measures Google might take to alleviate some

             of the security risks that are inherent in the District Court’s ill-conceived

             order, Google is deprived of the time necessary to do so.

                    To be clear, it would be impossible for Google to build out

             programming that mitigates fully the risks posed by the District Court’s

             order. No company, not even Google, would have the resources to vet

             every region of the Internet, which is precisely what the District Court’s

             order would demand to block malicious links from being communicated

             to users of Google’s Play Store and applications available on Play. As a

             result, although additional time would allow Google to mitigate some of



             7  https://www.uscourts.gov/statistics-reports/information-systems-and-
             cybersecurity-annual-report-2022.

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             the risks posed by the District Court’s order, the better course would be

             to stay the injunction in its entirety pending appeal—except for

             paragraph 8 of the order, which amici understand was a provision

             negotiated between Google and the States as part of a settlement.

                                               CONCLUSION

                    The Court should stay the order enjoining Google pending appeal—

             except for paragraph 8 of that order. A contrary holding would expose

             more than one-hundred million U.S.-based users of Google’s Play Store

             to extensive security, privacy, and safety risks.

              Dated: October 23, 2024                   Respectfully submitted,


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                                     CERTIFICATE OF COMPLIANCE

                    Pursuant to Rule 32(g)(1) of the Federal Rules of Appellate

             Procedure, I hereby certify that this brief is in compliance with the type-

             form and volume requirements. Specifically, the Brief of Amici Curiae is

             proportionately spaced; uses a Roman-style, serif typeface (Century

             Schoolbook) of 14-point; and contains 1,730 words, exclusive of the

             material not counted under Rule 32(f) of the Federal Rules of Appellate

             Procedure.



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                                                    Counsel for Amici Curiae




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                                        CERTIFICATE OF SERVICE

                    I hereby certify that on October 23, 2022, I electronically

             transmitted a copy of the foregoing Brief of Amici Curiae to the Clerk of

             the Court using the Appellate Case Management System (ACMS) for

             filing. Service will be accomplished electronically through the ACMS for

             all registered participants.



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